     Case 1:25-cv-00532-TNM          Document 17       Filed 02/24/25    Page 1 of 4




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA




THE ASSOCIATED PRESS,

               Plaintiff,                             Case No. 25-cv-00532-TNM

    v.

TAYLOR BUDOWICH, in his official
capacity as White House Deputy Chief of
Staff; KAROLINE LEAVITT, in her official
capacity as White House Press Secretary; and
SUSAN WILES, in her official capacity as
White House Chief of Staff,

               Defendants.


 MOTION OF REPORTERS COMMITTEE FOR FREEDOM OF THE PRESS FOR
                 LEAVE TO FILE AMICUS BRIEF

         Proposed amicus curiae the Reporters Committee for Freedom of the Press (the

“Reporters Committee”) respectfully moves this Court under Local Civil Rule 7(o) for

leave to file the attached amicus curiae brief in support of Plaintiff’s Motions for a

Temporary Restraining Order and Preliminary Injunction.

         1.    This Court “has broad discretion to permit . . . participat[ion] [of] amici

curiae,” and amicus participation is appropriate where amici have “relevant expertise

and a stated concern for the issues at stake in [the] case.” Dist. of Columbia v. Potomac

Elec. Power Co., 826 F. Supp. 2d 227, 237 (D.D.C. 2011). This Court has recognized that


                                             1
      Case 1:25-cv-00532-TNM         Document 17       Filed 02/24/25     Page 2 of 4




an amicus brief should “normally be allowed when . . . the amicus has unique

information or perspective that can help the court beyond the help that the lawyers

for the parties are able to provide.” Cobell v. Norton, 246 F. Supp. 2d 59, 62 (D.D.C.

2003) (quoting Ryan v. Commodity Futures Trading Comm’n, 125 F.3d 1062, 1063 (7th

Cir. 1997)); Jin v. Ministry of State Sec., 557 F. Supp. 2d 131, 137 (D.D.C. 2008) (same).

         2.   Proposed amicus the Reporters Committee is an unincorporated

nonprofit association of reporters and editors dedicated to defending the First

Amendment and newsgathering rights of the press. The Reporters Committee

routinely appears as amicus curiae in the federal courts, including this Court, where

the federal government attempts to restrict the news media’s ability to inform the

public. See, e.g., Order, Karem v. Trump, No. 1:19-cv-02514 (D.D.C. Aug. 22, 2019)

(granting the Reporters Committee leave to file as amicus curiae in support of a

motion for a temporary restraining order seeking restoration of a journalist’s press

pass).

         3.   The proposed amicus brief highlights for the Court the important role

the press pool has historically played in informing the public about matters of public

concern and explains the strict limits the First Amendment imposes on the

government’s ability to discriminate on the basis of viewpoint when providing the

news media access to the White House.

         4.   Amicus is uniquely positioned to provide the Court with information



                                             2
      Case 1:25-cv-00532-TNM       Document 17      Filed 02/24/25    Page 3 of 4




and insight based on its experience advocating on behalf of reporters and media

outlets. The proposed amicus brief provides broader context on the danger

Defendants’ actions pose to the press as a whole beyond their impact on Plaintiff.

       5.     Defendants take no position on this motion. Plaintiff consents to the

filing of the proposed amicus brief.

Dated: February 24, 2025                       Respectfully submitted,

                                               /s/ Bruce D. Brown
                                               Bruce D. Brown
                                               (D.C. Bar No. 457317)
                                                 Counsel of Record for Amicus Curiae
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                                           3
      Case 1:25-cv-00532-TNM         Document 17       Filed 02/24/25    Page 4 of 4




                              CERTIFICATE OF SERVICE

       I hereby certify that on February 24, 2025, I electronically filed the foregoing

Motion of Reporters Committee for Freedom of the Press for Leave to File Amicus Brief

with the Clerk of the Court by using the CM/ECF system, which will send a notice of

electronic filing to all registered CM/ECF participants.



                                                 /s/ Bruce D. Brown
                                                 Bruce D. Brown
                                                 (D.C. Bar No. 457317)
                                                   Counsel of Record for Amicus Curiae




                                             4
